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EXHIBIT B

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. HNTERROGATORY NO. 17; State in specific detail how Ric Gillespie acted in his
personal capacity in the allegations You make in Your Complaint. Your response should include
any ane ar Statements and Communications You had with Ric Gillespie in his individual
capacity and any and all facts upon which you rely for your allegations that Ric Gi i
in a personal capacity in this matter. ” ° * age Giespie ace’

ANSWER: Ric Gillespie and his wife are the sole paid employees of TIGHAR and
benefit financially from the operations of TIGHAR and its continued solicitations and
expeditions, All statements made and actions taken by Ric Gillespie appear to be joint
undertakings of TIGHAR and Ric Gillespie individually.

16. Admit that the statements you allege were made by Mr, Gillespie in Paragraphs
91 and 33 of Your Complaint as to representations made by him were made by him in his
capacity as Executive Director of TIGHAR.

RESPONSE: Qualified denial. Representations made by Mr. Gillespie were made in his
in his individual capacity and in his capacity as director of TIGHAR,

17. Admit that in Your Complaint You do not make any fraud claim against Ric
Gillespie as an individual but instead as TIGHAR’s Executive Director.
RESPONSE: Denied.

18. Admit that You do not make any negligent misrepresentation claim against Ric
Gillespie as an individual in Your Complaint but instead as TIGHAR’s Executive Director,

RESPONSE: Denied.

19, Admit that every allegation You have made against Ric Gillespie in Your
Complaint relate to him in his capacity as TIGHAR’s Executive Director,

RESPONSE; Denied.

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